                            Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 1 of 57
B1 (Official Form 1) (4/10)
                                            UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS                                                                                        Voluntary Petition
                                                    HOUSTON DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Egeland, David A.                                                                                    Egeland, Sandra D.

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-1067                                                                than one, state all):     xxx-xx-1096
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
2371 Shadow Lane                                                                                     2371 Shadow Lane
Montgomery, TX                                                                                       Montgomery, TX
                                                                          ZIP CODE                                                                                            ZIP CODE
                                                                            77316                                                                                               77316
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Montgomery                                                                                           Montgomery
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):



                                                                          ZIP CODE                                                                                            ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                              ZIP CODE


                Type of Debtor                                 Nature of Business                                   Chapter of Bankruptcy Code Under Which
              (Form of Organization)                              (Check one box.)                                     the Petition is Filed (Check one box.)
                 (Check one box.)
                                                     ¨    Health Care Business
                                                                                                     ¨       Chapter 7
 þ      Individual (includes Joint Debtors)          ¨    Single Asset Real Estate as defined
                                                          in 11 U.S.C. § 101(51B)
                                                                                                     ¨       Chapter 9                                   ¨ Chapter  15 Petition for Recognition
                                                                                                                                                           of a Foreign Main Proceeding
        See Exhibit D on page 2 of this form.
                                                     ¨    Railroad                                   ¨       Chapter 11
 ¨      Corporation (includes LLC and LLP)                                                           ¨       Chapter 12                                  ¨ Chapter 15 Petition for Recognition
                                                     ¨    Stockbroker
                                                                                                     þ                                                         of a Foreign Nonmain Proceeding
 ¨      Partnership
                                                     ¨    Commodity Broker
                                                                                                             Chapter 13

 ¨      Other (If debtor is not one of the above
        entities, check this box and state type
                                                     ¨    Clearing Bank                                                                     Nature of Debts
                                                                                                                                            (Check one box.)
        of entity below.)                            ¨    Other
                                                                 Tax-Exempt Entity                   þ       Debts are primarily consumer
                                                                                                             debts, defined in 11 U.S.C.
                                                                                                                                                         ¨     Debts are primarily
                                                                                                                                                               business debts.
                                                             (Check box, if applicable.)                     § 101(8) as "incurred by an
                                                          Debtor is a tax-exempt organization                individual primarily for a
                                                     ¨    under Title 26 of the United States                personal, family, or house-
                                                          Code (the Internal Revenue Code).                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                       Chapter 11 Debtors
 þ      Full Filing Fee attached.                                                                    ¨ Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
                                                                                                     ¨ Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
 ¨      Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court's consideration certifying that the debtor is
                                                                                                     Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                ¨ Debtor's   aggregate noncontigent liquidated debts (excluding debts owed to
                                                                                                        insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
                                                                                                             on 4/01/13 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
 ¨      attach signed application for the court's consideration. See Official Form 3B.               Check all applicable boxes:
                                                                                                             A plan is being filed with this petition.
                                                                                                     ¨       Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                     ¨       of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
 þ    Debtor estimates that funds will be available for distribution to unsecured creditors.
 ¨    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors
 ¨
 1-49
             þ
             50-99
                          ¨
                          100-199
                                         ¨
                                         200-999
                                                         ¨
                                                         1,000-
                                                                          ¨
                                                                          5,001-
                                                                                           ¨
                                                                                           10,001-
                                                                                                                ¨
                                                                                                                25,001-
                                                                                                                                    ¨
                                                                                                                                    50,001-
                                                                                                                                                     ¨
                                                                                                                                                     Over
                                                         5,000            10,000           25,000               50,000              100,000          100,000
 Estimated Assets
 ¨           ¨            þ              ¨               ¨                ¨                ¨                    ¨                   ¨                ¨
 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
 Estimated Liabilities
 ¨           ¨            þ              ¨               ¨                ¨                ¨                    ¨                   ¨                ¨
 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2010 (Build 9.0.77.1, ID 0827246976)
                           Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 2 of 57
B1 (Official Form 1) (4/10)                                                                                                                                                      Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    David A. Egeland
                                                                                                                  Sandra D. Egeland
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
                                                                                            such chapter. I further certify that I have delivered to the debtor the notice
 ¨      Exhibit A is attached and made a part of this petition.
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Nicholas R. Westbrook                                         12/21/2010
                                                                                                 Nicholas R. Westbrook                                                 Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

 ¨      Yes, and Exhibit C is attached and made a part of this petition.

 þ      No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
      þ Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
        þ Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.
                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)

 þ      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.


 ¨      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

 ¨      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
 ¨      Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)

 ¨      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

 ¨      Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

 ¨      Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2010 (Build 9.0.77.1, ID 0827246976)
                           Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 3 of 57
B1 (Official Form 1) (4/10)                                                                                                                                                        Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     David A. Egeland
                                                                                                                    Sandra D. Egeland
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                             ¨ ICertified
                                                                                                 request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                          copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,
 specified in this petition.                                                                 ¨ Pursuant   to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
                                                                                               title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ David A. Egeland
      David A. Egeland
                                                                                             X
       /s/ Sandra D. Egeland                                                                     (Signature of Foreign Representative)
 X    Sandra D. Egeland

                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     12/21/2010
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Nicholas R. Westbrook                                                             defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Nicholas R. Westbrook                            Bar No. 24042141                      have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Law Office of Nicholas R. Westbrook
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 3730 Kirby Drive, Suite 1200                                                                given the debtor notice of the maximum amount before preparing any document
 Houston, Texas 77098                                                                        for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                             section. Official Form 19 is attached.


          (713) 893-6204
 Phone No.______________________        (713) 869-3017
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     12/21/2010
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2010 (Build 9.0.77.1, ID 0827246976)
                  Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 4 of 57
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
In re:   David A. Egeland                                                                Case No.
         Sandra D. Egeland                                                                                    (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


þ   1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

¨   2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


¨    3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
                  Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 5 of 57
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
In re:   David A. Egeland                                                             Case No.
         Sandra D. Egeland                                                                                 (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



¨   4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

         ¨    Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


         ¨    Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


         ¨    Active military duty in a military combat zone.

¨   5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor: /s/ David A. Egeland
                    David A. Egeland

Date:       12/21/2010
                  Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 6 of 57
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
In re:   David A. Egeland                                                                Case No.
         Sandra D. Egeland                                                                                    (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


þ   1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

¨   2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


¨    3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
                  Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 7 of 57
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
In re:   David A. Egeland                                                             Case No.
         Sandra D. Egeland                                                                                 (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



¨   4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

         ¨    Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


         ¨    Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


         ¨    Active military duty in a military combat zone.

¨   5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor: /s/ Sandra D. Egeland
                    Sandra D. Egeland

Date:       12/21/2010
                    Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 8 of 57
B6A (Official Form 6A) (12/07)



In re David A. Egeland                                                    Case No.
      Sandra D. Egeland                                                                                         (if known)



                                         SCHEDULE A - REAL PROPERTY


                                                                                                             Current Value




                                                                                   Husband, Wife, Joint,
                                                                                                              of Debtor's
                   Description and                       Nature of Debtor's




                                                                                     or Community
                                                                                                               Interest in
                     Location of                        Interest in Property
                                                                                                           Property, Without    Amount Of
                      Property                                                                                                 Secured Claim
                                                                                                            Deducting Any
                                                                                                            Secured Claim
                                                                                                             or Exemption


 Timeshare - Disney                                Fee Simple                         C                         $13,000.00              $0.00
 Disney's Board Walk Villas
 Lake Buena Vista, Florida

 Timeshare - Orange                                Fee Simple                         C                           $2,000.00             $0.00
 Orange Lake East Village
 Kissimmee, Florida

 Timeshare - Polo                                  Fee Simple                         C                           $3,500.00             $0.00
 Diamond Resorts Polo Towers Villas - Las Vegas,
 Nevada

 Real Property/Vacant Lot Wildwood Shores          Fee Simple                         C                         $20,000.00          $2,702.00
 Property Description: Wildwood Shores (Sec 2),
 Block 2, Lot 30
 Walker County, Texas




                                                                               Total:                           $38,500.00
                                                                               (Report also on Summary of Schedules)
                      Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 9 of 57
B6B (Official Form 6B) (12/07)




In re David A. Egeland                                                                   Case No.
      Sandra D. Egeland                                                                               (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                           Husband, Wife, Joint,
                                                                                                                                   Current Value of
                                                                                                                                   Debtor's Interest




                                                                                                             or Community
                                                                                                                                      in Property,
                                          None                                                                                     Without Deducting
             Type of Property                                  Description and Location of Property                                  any Secured
                                                                                                                                        Claim or
                                                                                                                                       Exemption

1. Cash on hand.                          X

2. Checking, savings or other finan-             Wells Fargo - Checking $2,123.87                                C                       $4,425.47
cial accounts, certificates of deposit           Account No. 0897
or shares in banks, savings and loan,            Wells Fargo - Savings $1,157.56
thrift, building and loan, and home-             Account No. 5654
stead associations, or credit unions,            Wells Fargo - Checking $4.04
brokerage houses, or cooperatives.               Account No. 7530
                                                 Chase - Spouse Checking $1,000
                                                 Account No. 5920
                                                 John Deere Community CU $140
                                                 Account No. 3453



3. Security deposits with public util-           Jennifer Brown - Residental Landlord                            C                         $825.00
ities, telephone companies, land-                For current residence
lords, and others.
                                                 Gary & Sharon Roth                                              C                       $1,995.00
                                                 Residental Lease Deposit
                                                 $995 plus a non-refundable dog deposit of $1,000
                                                 Residence beginning in January 2011


4. Household goods and furnishings,              2 Televisions $200                                              C                       $2,775.00
including audio, video and computer              2 DVD/VCR Players $100
equipment.                                       Edger $40
                                                 2 Speakers $20
                                                 Ipod $40
                                                 2 Cameras $300
                                                 Camcorder $100
                                                 3 Computers $400
                                                 Scanner $50
                                                 2 Couches $100
                                                 6 Chairs $100
                                                 Cd Player $25
                                                 Coffee table $20
                                                 Dining table $500
                                                 3 Beds $300
                     Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 10 of 57
B6B (Official Form 6B) (12/07) -- Cont.




In re David A. Egeland                                                                    Case No.
      Sandra D. Egeland                                                                                      (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 1




                                                                                                                  Husband, Wife, Joint,
                                                                                                                                          Current Value of
                                                                                                                                          Debtor's Interest




                                                                                                                    or Community
                                                                                                                                             in Property,
                                           None                                                                                           Without Deducting
             Type of Property                                   Description and Location of Property                                        any Secured
                                                                                                                                               Claim or
                                                                                                                                              Exemption

                                                  Dishes $50
                                                  Refrigerator $80
                                                  2 Dressers $100
                                                  2 Lamps $10
                                                  Kitchen table $100
                                                  Toys $50
                                                  Mirror $40
                                                  Lawn mower $50



5. Books; pictures and other art                  Books $500                                                            C                       $1,620.00
objects; antiques; stamp, coin,                   Video games $100
record, tape, compact disc, and other             Cds $120
collections or collectibles.                      DVDs $400
                                                  Figurines $500


6. Wearing apparel.                               Clothing & Shoes                                                      C                       $1,700.00



7. Furs and jewelry.                              His wedding band $300                                                 C                         $650.00
                                                  Watches $200
                                                  Rings $50
                                                  Costume Jewelry $100



8. Firearms and sports, photo-                    Exercise equipment                                                    C                         $100.00
graphic, and other hobby equipment.

9. Interests in insurance policies.               Whole Life through Northwestern Mutual - Debtor $100,000              C                     $100,000.00
Name insurance company of each                    Term through Northwestern Mutual - Debtor $400,000
policy and itemize surrender or                   Term through Northwestern Mutual - Spouse $200,000
refund value of each.                             Term through Aviva - Debtor $600
                                                  Term through Aviva - Spouse $9,500


10. Annuities. Itemize and name            X
each issuer.
                     Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 11 of 57
B6B (Official Form 6B) (12/07) -- Cont.




In re David A. Egeland                                                                    Case No.
      Sandra D. Egeland                                                                                (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                           Continuation Sheet No. 2




                                                                                                            Husband, Wife, Joint,
                                                                                                                                    Current Value of
                                                                                                                                    Debtor's Interest




                                                                                                              or Community
                                                                                                                                       in Property,
                                           None                                                                                     Without Deducting
             Type of Property                                   Description and Location of Property                                  any Secured
                                                                                                                                         Claim or
                                                                                                                                        Exemption


11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,               Retirement through FERS                                         C                     $300,000.00
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint            100% Interest in Dog Breeding Business - Spouse                 C                           $0.00
ventures. Itemize.

15. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                   X

17. Alimony, maintenance, support,         X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to         X
debtor including tax refunds. Give
particulars.
                     Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 12 of 57
B6B (Official Form 6B) (12/07) -- Cont.




In re David A. Egeland                                                                    Case No.
      Sandra D. Egeland                                                                                (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 3




                                                                                                            Husband, Wife, Joint,
                                                                                                                                    Current Value of
                                                                                                                                    Debtor's Interest




                                                                                                              or Community
                                                                                                                                       in Property,
                                            None                                                                                    Without Deducting
             Type of Property                                   Description and Location of Property                                  any Secured
                                                                                                                                         Claim or
                                                                                                                                        Exemption


19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.

24. Customer lists or other compilations    X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                 2008 Land Rover LR3                                            C                      $28,000.00
and other vehicles and accessories.                60,600 Miles
                     Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 13 of 57
B6B (Official Form 6B) (12/07) -- Cont.




In re David A. Egeland                                                                        Case No.
      Sandra D. Egeland                                                                                              (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                              Continuation Sheet No. 4




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,
                                              None                                                                                                Without Deducting
             Type of Property                                     Description and Location of Property                                              any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


26. Boats, motors, and accessories.           X

27. Aircraft and accessories.                 X

28. Office equipment, furnishings,            X
and supplies.

29. Machinery, fixtures, equipment,           X
and supplies used in business.

30. Inventory.                                X

31. Animals.                                         8 Dogs                                                                     C                          $80.00



32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          4           continuation sheets attached   Total >                          $442,170.47
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
                     Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 14 of 57
B6C (Official Form 6C) (4/10)



In re David A. Egeland                                                                            Case No.
      Sandra D. Egeland                                                                                             (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:               ¨    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $146,450.*

 þ    11 U.S.C. § 522(b)(2)
 ¨    11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                 Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                            Exemption
                                                                                                                                     Exemption



 Timeshare - Orange                                       11 U.S.C. § 522(d)(5)                                 $2,000.00               $2,000.00
 Orange Lake East Village
 Kissimmee, Florida

 Wells Fargo - Checking $2,123.87                         11 U.S.C. § 522(d)(5)                                 $4,425.47               $4,425.47
 Account No. 0897

 Wells Fargo - Savings $1,157.56
 Account No. 5654

 Wells Fargo - Checking $4.04
 Account No. 7530

 Chase - Spouse Checking $1,000
 Account No. 5920

 John Deere Community CU $140
 Account No. 3453

 Jennifer Brown - Residental Landlord                     11 U.S.C. § 522(d)(5)                                   $825.00                 $825.00
 For current residence

 Gary & Sharon Roth                                       11 U.S.C. § 522(d)(5)                                 $1,995.00               $1,995.00
 Residental Lease Deposit
 $995 plus a non-refundable dog deposit of
 $1,000
 Residence beginning in January 2011

 2 Televisions $200                                       11 U.S.C. § 522(d)(3)                                 $2,775.00               $2,775.00
 2 DVD/VCR Players $100

* Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                               $12,020.47              $12,020.47
                     Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 15 of 57
B6C (Official Form 6C) (4/10) -- Cont.



In re David A. Egeland                                                              Case No.
      Sandra D. Egeland                                                                              (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 1


                                                                                                                       Current
                                                                                                                  Value of Property
                                                       Specify Law Providing Each          Value of Claimed       Without Deducting
              Description of Property
                                                                Exemption                     Exemption               Exemption



 Edger $40
 2 Speakers $20
 Ipod $40
 2 Cameras $300
 Camcorder $100
 3 Computers $400
 Scanner $50
 2 Couches $100
 6 Chairs $100
 Cd Player $25
 Coffee table $20
 Dining table $500
 3 Beds $300
 Dishes $50
 Refrigerator $80
 2 Dressers $100
 2 Lamps $10
 Kitchen table $100
 Toys $50
 Mirror $40
 Lawn mower $50

 Books $500                                        11 U.S.C. § 522(d)(3)                          $1,620.00              $1,620.00
 Video games $100
 Cds $120
 DVDs $400
 Figurines $500

 Clothing & Shoes                                  11 U.S.C. § 522(d)(3)                          $1,700.00              $1,700.00

 His wedding band $300                             11 U.S.C. § 522(d)(4)                            $650.00                $650.00
 Watches $200
 Rings $50
 Costume Jewelry $100

 Exercise equipment                                11 U.S.C. § 522(d)(3)                            $100.00                $100.00




                                                                                                 $16,090.47             $16,090.47
                     Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 16 of 57
B6C (Official Form 6C) (4/10) -- Cont.



In re David A. Egeland                                                              Case No.
      Sandra D. Egeland                                                                              (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 2


                                                                                                                       Current
                                                                                                                  Value of Property
                                                       Specify Law Providing Each          Value of Claimed       Without Deducting
              Description of Property
                                                                Exemption                     Exemption               Exemption



 Whole Life through Northwestern Mutual -          11 U.S.C. § 522(d)(11)(C)                    $100,000.00            $100,000.00
 Debtor $100,000

 Term through Northwestern Mutual - Debtor
 $400,000

 Term through Northwestern Mutual - Spouse
 $200,000

 Term through Aviva - Debtor $600

 Term through Aviva - Spouse $9,500

 Retirement through FERS                           11 U.S.C. § 522(d)(12)                       $300,000.00            $300,000.00

 100% Interest in Dog Breeding Business -          11 U.S.C. § 522(d)(5)                              $0.00                  $0.00
 Spouse

 2008 Land Rover LR3                               11 U.S.C. § 522(d)(2)                          $3,450.00             $28,000.00
 60,600 Miles
                                                   11 U.S.C. § 522(d)(5)                            $598.00

 8 Dogs                                            11 U.S.C. § 522(d)(3)                             $80.00                 $80.00




                                                                                                $420,218.47            $444,170.47
                   Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 17 of 57
B6D (Official Form 6D) (12/07)
          In re David A. Egeland                                                                                         Case No.
                 Sandra D. Egeland                                                                                                                    (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                         ¨    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                    AMOUNT OF         UNSECURED




                                                                                                                                  UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                      CLAIM           PORTION, IF




                                                                                                                                   CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                    DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                      WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                    DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                        VALUE OF
                                                                                             PROPERTY SUBJECT                                    COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:    05/15/2008
ACCT #: xxxxxxxxxx3703                                                            NATURE OF LIEN:
                                                                                  Purchase Money
Chase Manhattan                                                                   COLLATERAL:
                                                                                  2008 Land Rover LR3                                               $23,952.00
Attn: Bankruptcy Research Dept                                C                   REMARKS:
3415 Vision Dr
Columbus, OH 43219


                                                                                  VALUE:                            $28,000.00
                                                                                  DATE INCURRED:    11/2001
ACCT #: x2879                                                                     NATURE OF LIEN:
                                                                                  Purchase Money
Merchants Mortgage                                                                COLLATERAL:
                                                                                  Time Share - Wildwood Shores                                       $2,702.00
7400 E Crestline Cir Ste                                      C                   REMARKS:
Greenwood Village, CO 80111



                                                                                  VALUE:                            $20,000.00




                                                                                                         Subtotal (Total of this Page) >             $26,654.00               $0.00
                                                                                                        Total (Use only on last page) >              $26,654.00                $0.00
________________continuation
       No                    sheets attached                                                                                                     (Report also on   (If applicable,
                                                                                                                                                 Summary of        report also on
                                                                                                                                                 Schedules.)       Statistical
                                                                                                                                                                   Summary of
                                                                                                                                                                   Certain Liabilities
                                                                                                                                                                   and Related
                                                                                                                                                                   Data.)
                     Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 18 of 57
B6E (Official Form 6E) (04/10)

In re David A. Egeland                                                                            Case No.
      Sandra D. Egeland                                                                                                     (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

¨ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

¨   Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).


¨   Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

¨   Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).


¨   Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


¨   Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


¨   Deposits by individuals
    Claims of individuals up to $2,600* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


¨   Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


¨   Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).


¨   Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


þ   Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       1                     sheets attached
                     Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 19 of 57
B6E (Official Form 6E) (04/10) - Cont.
In re David A. Egeland                                                                                                    Case No.
      Sandra D. Egeland                                                                                                                           (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY       Administrative allowances




                                                         HUSBAND, WIFE, JOINT,




                                                                                                                      UNLIQUIDATED
                                                                                                                       CONTINGENT
                                                           OR COMMUNITY
                                              CODEBTOR
             CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                           AMOUNT         AMOUNT      AMOUNT




                                                                                                                        DISPUTED
              MAILING ADDRESS                                                       AND CONSIDERATION FOR                              OF         ENTITLED TO     NOT
            INCLUDING ZIP CODE,                                                             CLAIM                                     CLAIM        PRIORITY   ENTITLED TO
          AND ACCOUNT NUMBER                                                                                                                                  PRIORITY, IF
           (See instructions above.)                                                                                                                              ANY


ACCT #:                                                                          DATE INCURRED:   11/23/2010
                                                                                 CONSIDERATION:
Law Office of Nicholas R. Westbrook                                              Attorney Fees                                        $2,485.00       $2,485.00        $0.00
3730 Kirby Drive, Suite 1200                                                     REMARKS:
Houston, Texas 77098                                           C




Sheet no. __________
               1       of __________
                               1       continuation sheets                                  Subtotals (Totals of this page) >         $2,485.00       $2,485.00        $0.00
attached to Schedule of Creditors Holding Priority Claims                               Total >                                       $2,485.00
                                       (Use only on last page of the completed Schedule E.
                                       Report also on the Summary of Schedules.)

                                                                                          Totals >                                                    $2,485.00        $0.00
                                       (Use only on last page of the completed Schedule E.
                                       If applicable, report also on the Statistical Summary
                                       of Certain Liabilities and Related Data.)
                   Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 20 of 57
B6F (Official Form 6F) (12/07)
  In re David A. Egeland                                                                                          Case No.
           Sandra D. Egeland                                                                                                 (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
¨   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                               HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                      DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                   UNLIQUIDATED
                MAILING ADDRESS                                                                        INCURRED AND                                 CLAIM




                                                                                                                                    CONTINGENT
                                                                 OR COMMUNITY
                                                    CODEBTOR




                                                                                                                                     DISPUTED
              INCLUDING ZIP CODE,                                                                   CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                             CLAIM.
             (See instructions above.)                                                            IF CLAIM IS SUBJECT TO
                                                                                                     SETOFF, SO STATE.


ACCT #: xxxx7345                                                                       DATE INCURRED:   05/2003
                                                                                       CONSIDERATION:
Amegy Bank Of Texas                                                                    Real Estate Specific Type Unknown                                  $0.00
1801 Main                                                                              REMARKS:
                                                                 C
Houston, TX 77002



ACCT #: xxxxxxxxxxxx1773                                                               DATE INCURRED:   02/1989
                                                                                       CONSIDERATION:
American Express                                                                       Credit Card                                                    $5,502.00
c/o Becket and Lee LLP                                                                 REMARKS:
                                                                 C
PO Box 3001
Malvern, PA 19355

ACCT #: xxxxxxxxxxxxxx3193                                                             DATE INCURRED:   12/1989
                                                                                       CONSIDERATION:
Amex                                                                                   Credit Card                                                        $0.00
c/o Beckett & Lee                                                                      REMARKS:
                                                                 C
PO Box 3001
Malvern, PA 19355

ACCT #: xxxx2297                                                                       DATE INCURRED:   01/2003
                                                                                       CONSIDERATION:
Bac Home Loans Servici                                                                 Conventional Real Estate Mortgage                                  $0.00
450 American St                                                                        REMARKS:
                                                                 C
Simi Valley, CA 93065



ACCT #: xxxxxxxxxxxx9068                                                               DATE INCURRED:   08/1999
                                                                                       CONSIDERATION:
Bac/fleet-bkcard                                                                       Credit Card                                                        $0.00
200 Tournament Dr                                                                      REMARKS:
                                                                 C
Horsham, PA 19044



ACCT #: xxxxxxxxxxxx6809                                                               DATE INCURRED:   11/2005
                                                                                       CONSIDERATION:
Bank Of America                                                                        Credit Card                                                   $25,755.00
Po Box 17054                                                                           REMARKS:
                                                                 C
Wilmington, DE 19850



                                                                                                                               Subtotal >             $31,257.00

                                                                                                                         Total >
                                                                           (Use only on last page of the completed Schedule F.)
________________continuation
       11                    sheets attached                   (Report also on Summary of Schedules and, if applicable, on the
                                                                   Statistical Summary of Certain Liabilities and Related Data.)
                    Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 21 of 57
B6F (Official Form 6F) (12/07) - Cont.
  In re David A. Egeland                                                                                             Case No.
           Sandra D. Egeland                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxx8762                                                                  DATE INCURRED:   08/1999
                                                                                          CONSIDERATION:
Bank Of America                                                                           Credit Card                                                   $14,627.00
Attn: Bankruptcy NC4-105-03-14                                                            REMARKS:
                                                                    C
PO Box 26012
Greensboro, NC 27410

ACCT #: xxxxxxxxxxxx5422                                                                  DATE INCURRED:   06/2006
                                                                                          CONSIDERATION:
Bank Of America                                                                           Credit Card                                                    $8,702.00
Po Box 17054                                                                              REMARKS:
                                                                    C
Wilmington, DE 19850



ACCT #: xxxxxxxxxxxx0814                                                                  DATE INCURRED:   03/2002
                                                                                          CONSIDERATION:
Bank Of America                                                                           Credit Card                                                    $3,033.00
Po Box 17054                                                                              REMARKS:
                                                                    C
Wilmington, DE 19850



ACCT #: xxxxxxxxxxx6738                                                                   DATE INCURRED:   08/1999
                                                                                          CONSIDERATION:
Bank Of America                                                                           Credit Card                                                    $1,132.00
Po Box 17054                                                                              REMARKS:
                                                                    C
Wilmington, DE 19850



ACCT #: xxxxxxxxxxx7019                                                                   DATE INCURRED:   06/2006
                                                                                          CONSIDERATION:
Bank Of America                                                                           Credit Card                                                        $0.00
Po Box 17054                                                                              REMARKS:
                                                                    C
Wilmington, DE 19850



ACCT #: xxxxxxxx0025                                                                      DATE INCURRED:   04/1996
                                                                                          CONSIDERATION:
Bank of America                                                                           Credit Card                                                        $0.00
Attn: Bankruptcy Dept NC4-105-03-72                                                       REMARKS:
                                                                    C
PO Box 22002
Greensboro, NC 27420

Sheet no. __________
              1        of __________
                              11     continuation sheets attached to                                                              Subtotal >             $27,494.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 22 of 57
B6F (Official Form 6F) (12/07) - Cont.
  In re David A. Egeland                                                                                              Case No.
           Sandra D. Egeland                                                                                                     (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                  CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 0576                                                                              DATE INCURRED:   06/2006
                                                                                          CONSIDERATION:
Bank Of America                                                                           Credit Card                                                       ($1.00)
Po Box 17054                                                                              REMARKS:
                                                                    C
Wilmington, DE 19850



ACCT #: xxxxxxxxxx0307                                                                    DATE INCURRED:   08/2006
                                                                                          CONSIDERATION:
Bank Of America                                                                           Check Credit or Line of Credit                                 $30,805.00
Po Box 17054                                                                              REMARKS:
                                                                    C
Wilmington, DE 19850



ACCT #: xxxxxxxxxxxx9544                                                                  DATE INCURRED:   10/2000
                                                                                          CONSIDERATION:
Capital One, N.a.                                                                         Credit Card                                                         $0.00
Bankruptcy Dept                                                                           REMARKS:
                                                                    C
PO Box 5155
Norcross, GA 30091

ACCT #: xxxxxxxxxxxx0897                                                                  DATE INCURRED:   08/2000
                                                                                          CONSIDERATION:
Capital One, N.a.                                                                         Credit Card                                                    $16,542.00
Bankruptcy Dept                                                                           REMARKS:
                                                                    C
PO Box 5155
Norcross, GA 30091

ACCT #: xxxxxxxxxxxx5114                                                                  DATE INCURRED:   11/2006
                                                                                          CONSIDERATION:
Capital One, N.a.                                                                         Charge Account                                                  $7,116.00
Bankruptcy Dept                                                                           REMARKS:
                                                                    C
PO Box 5155
Norcross, GA 30091

ACCT #: xxxxxxxxxxxx3951                                                                  DATE INCURRED:   02/1997
                                                                                          CONSIDERATION:
Chase                                                                                     Credit Card                                                      $503.00
Po Box 15298                                                                              REMARKS:
                                                                    C
Wilmington, DE 19850



Sheet no. __________
              2        of __________
                              11     continuation sheets attached to                                                               Subtotal >             $54,965.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 23 of 57
B6F (Official Form 6F) (12/07) - Cont.
  In re David A. Egeland                                                                                             Case No.
           Sandra D. Egeland                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxx6934                                                                  DATE INCURRED:   10/1997
                                                                                          CONSIDERATION:
Chase                                                                                     Credit Card                                                       $0.00
Po Box 15298                                                                              REMARKS:
                                                                    C
Wilmington, DE 19850



ACCT #: xxxxxx0720                                                                        DATE INCURRED:   07/1997
                                                                                          CONSIDERATION:
Chase                                                                                     Credit Card                                                       $0.00
Attn: Bankruptcy Dept                                                                     REMARKS:
                                                                    C
PO Box 15145
Wilmington, DE 19850

ACCT #: xxxxxxxxxxxx2562                                                                  DATE INCURRED:   09/2001
                                                                                          CONSIDERATION:
Chase                                                                                     Credit Card                                                       $0.00
Attn: Bankruptcy Dept                                                                     REMARKS:
                                                                    C
PO Box 15145
Wilmington, DE 19850

ACCT #: xxxxxxxxxxxx1552                                                                  DATE INCURRED:   04/2002
                                                                                          CONSIDERATION:
Chase                                                                                     Credit Card                                                   $4,743.00
Po Box 15298                                                                              REMARKS:
                                                                    C
Wilmington, DE 19850



ACCT #: xxxxxxxxxxxx9863                                                                  DATE INCURRED:   10/1998
                                                                                          CONSIDERATION:
Chase Mht Bk                                                                              Credit Card                                                       $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                    C
PO Box 15145
Wilmington, DE 19850

ACCT #: xxxxxxxxxxxx7815                                                                  DATE INCURRED:   03/1997
                                                                                          CONSIDERATION:
Citi                                                                                      Credit Card                                                       $0.00
P.o. Box 6500                                                                             REMARKS:
                                                                    C
Siou Falls, SD 57117



Sheet no. __________
              3        of __________
                              11     continuation sheets attached to                                                              Subtotal >             $4,743.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 24 of 57
B6F (Official Form 6F) (12/07) - Cont.
  In re David A. Egeland                                                                                                Case No.
           Sandra D. Egeland                                                                                                       (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxx8301                                                                        DATE INCURRED:   08/2006
                                                                                          CONSIDERATION:
Citi Auto                                                                                 Automobile                                                           $0.00
4000 Regent Blvd                                                                          REMARKS:
                                                                    C
Irving, TX 75063



ACCT #: xxxxxxxxxxxx9261                                                                  DATE INCURRED:   11/12/2007
                                                                                          CONSIDERATION:
Citibank                                                                                  Credit Card                                                          $0.00
Attn: Centralized Bankruptcy                                                              REMARKS:
                                                                    C
PO Box 20507
Kansas City, MO 64195

ACCT #: xxxxxx3265                                                                        DATE INCURRED:   02/2005
                                                                                          CONSIDERATION:
Citibank Na                                                                               Purchase Money                                                 Notice Only
Attn.: Centralized Bankruptcy                                                             REMARKS:
                                                                    C
PO Box 20507
Kansas City, MO 64195

ACCT #: xxxxxxxxxxxx4222                                                                  DATE INCURRED:   11/2005
                                                                                          CONSIDERATION:
Citibank Sd, Na                                                                           Credit Card                                                          $0.00
Attn: Centralized Bankruptcy                                                              REMARKS:
                                                                    C
PO Box 20507
Kansas City, MO 64195

ACCT #: xxxxxxxxxxxx7750                                                                  DATE INCURRED:   12/22/2005
                                                                                          CONSIDERATION:
Citibank Sd, Na                                                                           Credit Card                                                          $0.00
Attn: Centralized Bankruptcy                                                              REMARKS:
                                                                    C
PO Box 20507
Kansas City, MO 64195

ACCT #: xxxxxxxxxxxx7449                                                                  DATE INCURRED:   11/2008
                                                                                          CONSIDERATION:
Citibank Usa                                                                              Charge Account                                                       $0.00
Citicard Credit Srvs/Centralized Bankrup                                                  REMARKS:
                                                                    C
PO Box 20507
Kansas City, MO 64195

Sheet no. __________
              4        of __________
                              11     continuation sheets attached to                                                                 Subtotal >                 $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 25 of 57
B6F (Official Form 6F) (12/07) - Cont.
  In re David A. Egeland                                                                                             Case No.
           Sandra D. Egeland                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxx4318                                                                         DATE INCURRED:   02/2005
                                                                                          CONSIDERATION:
Citimortgage Inc                                                                          Conventional Real Estate Mortgage                           Notice Only
Po Box 9438                                                                               REMARKS:
                                                                    C
Gaithersburg, MD 20898



ACCT #: xxxxx4318                                                                         DATE INCURRED:   Various
                                                                                          CONSIDERATION:
Citimortgage Inc                                                                          Mortgage arrears                                            Notice Only
Po Box 9438                                                                               REMARKS:
                                                                    C
Gaithersburg, MD 20898



ACCT #: xxxxxxxxxxxx6110                                                                  DATE INCURRED:   10/1989
                                                                                          CONSIDERATION:
Discover Fin                                                                              Credit Card                                                   $14,724.00
PO Box 6103                                                                               REMARKS:
                                                                    C
Carol Stream, IL 60197



ACCT #: xxxxxxxxxxxx6056                                                                  DATE INCURRED:   06/2006
                                                                                          CONSIDERATION:
Discover Fin                                                                              Credit Card                                                    $7,908.00
PO Box 6103                                                                               REMARKS:
                                                                    C
Carol Stream, IL 60197



ACCT #: xxxxxxxxxxxx7091                                                                  DATE INCURRED:   06/2003
                                                                                          CONSIDERATION:
Discover Fin                                                                              Credit Card                                                        $0.00
PO Box 6103                                                                               REMARKS:
                                                                    C
Carol Stream, IL 60197



ACCT #: xxxxxxxxxxxx7445                                                                  DATE INCURRED:   06/2003
                                                                                          CONSIDERATION:
Discover Fin                                                                              Credit Card                                                        $0.00
PO Box 6103                                                                               REMARKS:
                                                                    C
Carol Stream, IL 60197



Sheet no. __________
              5        of __________
                              11     continuation sheets attached to                                                              Subtotal >             $22,632.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 26 of 57
B6F (Official Form 6F) (12/07) - Cont.
  In re David A. Egeland                                                                                                Case No.
           Sandra D. Egeland                                                                                                       (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxx1352                                                                      DATE INCURRED:   08/1994
                                                                                          CONSIDERATION:
Discover Fin Svcs Llc                                                                     Credit Card                                                         $0.00
Po Box 15316                                                                              REMARKS:
                                                                    C
Wilmington, DE 19850



ACCT #: xxx8207                                                                           DATE INCURRED:   08/01/1998
                                                                                          CONSIDERATION:
First Com Bk                                                                              Automobile                                                          $0.00
1150 West Main Street                                                                     REMARKS:
                                                                    C
Tomball, TX 77375



ACCT #: xxxxxxxx3717                                                                      DATE INCURRED:   02/17/2005
                                                                                          CONSIDERATION:
Flagstar Bank                                                                             Conventional Real Estate Mortgage                                   $0.00
Attn: Bankruptcy Dept MS-S144-3                                                           REMARKS:
                                                                    C
5151 Corporate Dr
Troy, MI 48098

ACCT #: xxxxxxxxxxxx7045                                                                  DATE INCURRED:   12/28/2004
                                                                                          CONSIDERATION:
GEMB / HH Gregg                                                                           Charge Account                                                      $0.00
Attention: Bankruptcy                                                                     REMARKS:
                                                                    C
PO Box 103106
Roswell, GA 30076

ACCT #: xxxxxxxxxxxx1892                                                                  DATE INCURRED:   07/2007
                                                                                          CONSIDERATION:
Gemb/care Credit                                                                          Charge Account                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                    C
PO Box 103106
Roswell, GA 30076

ACCT #: xxxxxxxxxxxx2681                                                                  DATE INCURRED:   12/2003
                                                                                          CONSIDERATION:
Gemb/jcp                                                                                  Charge Account                                                      $0.00
Attention: Bankruptcy                                                                     REMARKS:
                                                                    C
PO Box 103104
Roswell, GA 30076

Sheet no. __________
              6        of __________
                              11     continuation sheets attached to                                                                 Subtotal >                $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 27 of 57
B6F (Official Form 6F) (12/07) - Cont.
  In re David A. Egeland                                                                                                Case No.
           Sandra D. Egeland                                                                                                          (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                      AMOUNT OF




                                                                                                                                              UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                         CLAIM




                                                                                                                                               CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxx2677                                                                  DATE INCURRED:   01/27/2000
                                                                                          CONSIDERATION:
Gemb/walmart                                                                              Charge Account                                                            $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                    C
PO Box 103104
Roswell, GA 30076

ACCT #: xxxxxxxxxxxx8126                                                                  DATE INCURRED:   01/2010
                                                                                          CONSIDERATION:
Gemb/walmart                                                                              Charge Account                                                          $575.00
Po Box 981400                                                                             REMARKS:
                                                                    C
El Paso, TX 79998



ACCT #: xxxxxxxxxxxx9166                                                                  DATE INCURRED:   11/2009
                                                                                          CONSIDERATION:
Gembppbycr                                                                                Credit Card                                                              $92.00
Attention: GEMB                                                                           REMARKS:
                                                                    C
PO Box 103104
Roswell, GA 30076

ACCT #: xxxxxxxxxxxx7081                                                                  DATE INCURRED:   11/19/2000
                                                                                          CONSIDERATION:
Gtwy/cbusa                                                                                Combined Credit Plan                                                      $0.00
Attn: Centralized Bankruptcy                                                              REMARKS:
                                                                    C
PO Box 20507
Kansas City, MO 64195

ACCT #: xxxxx7035                                                                         DATE INCURRED:   02/17/2005
                                                                                          CONSIDERATION:
Home Comings Financial                                                                    Real Estate Mortgage without Other Collateral                             $0.00
Attention: Bankruptcy Dept                                                                REMARKS:
                                                                    C
1100 Virginia Drive
Fort Washington, PA 19034

ACCT #: xxxxxxxxxxxx0160                                                                  DATE INCURRED:   01/2005
                                                                                          CONSIDERATION:
HSBC                                                                                      Credit Card                                                               $0.00
ATTN: BANKRUPTCY                                                                          REMARKS:
                                                                    C
PO BOX 5213
Carol Stream, IL 60197

Sheet no. __________
              7        of __________
                              11     continuation sheets attached to                                                                      Subtotal >              $667.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 28 of 57
B6F (Official Form 6F) (12/07) - Cont.
  In re David A. Egeland                                                                                                Case No.
           Sandra D. Egeland                                                                                                       (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxx5831                                                                  DATE INCURRED:   08/29/2004
                                                                                          CONSIDERATION:
Hsbc Best Buy                                                                             Charge Account                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                    C
PO Box 5263
Carol Stream, IL 60197

ACCT #: xxxxxxxxxxx2635                                                                   DATE INCURRED:   07/2002
                                                                                          CONSIDERATION:
Hsbc/rs                                                                                   Charge Account                                                      $0.00
90 Christiana Rd                                                                          REMARKS:
                                                                    C
New Castle, DE 19720



ACCT #: xxxxxxxx0852                                                                      DATE INCURRED:   07/2002
                                                                                          CONSIDERATION:
Kohls                                                                                     Credit Card                                                         $0.00
Attn: Recovery Dept                                                                       REMARKS:
                                                                    C
PO Box 3120
Milwaukee, WI 53201

ACCT #: xxxx5404                                                                          DATE INCURRED:   02/2003
                                                                                          CONSIDERATION:
Land Rover                                                                                Automobile                                                          $0.00
25 Braintree Hill Park S                                                                  REMARKS:
                                                                    C
Braintree, MA 02184



ACCT #: xxxx1117                                                                          DATE INCURRED:   10/2002
                                                                                          CONSIDERATION:
Land Rover                                                                                Automobile                                                          $0.00
25 Braintree Hill Park S                                                                  REMARKS:
                                                                    C
Braintree, MA 02184



ACCT #: xxxx8823                                                                          DATE INCURRED:   09/2002
                                                                                          CONSIDERATION:
Land Rover                                                                                Automobile                                                          $0.00
25 Braintree Hill Park S                                                                  REMARKS:
                                                                    C
Braintree, MA 02184



Sheet no. __________
              8        of __________
                              11     continuation sheets attached to                                                                 Subtotal >                $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 29 of 57
B6F (Official Form 6F) (12/07) - Cont.
  In re David A. Egeland                                                                                                Case No.
           Sandra D. Egeland                                                                                                       (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxx9220                                                                     DATE INCURRED:   05/2007
                                                                                          CONSIDERATION:
Macys/fdsb                                                                                Charge Account                                                      $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                    C
PO Box 8053
Mason, OH 45040

ACCT #: xxx0597                                                                           DATE INCURRED:   05/2001
                                                                                          CONSIDERATION:
Orange Lake Country Cl                                                                    Real Estate Specific Type Unknown                                   $0.00
8505 W Irlo Bronson Hwy                                                                   REMARKS:
                                                                    C
Kissimmee, FL 34747



ACCT #: xxxxxxxxxxxx8875                                                                  DATE INCURRED:   06/26/2008
                                                                                          CONSIDERATION:
Prsm/cbsd                                                                                 Credit Card                                                         $0.00
Po Box 6497                                                                               REMARKS:
                                                                    C
Sioux Falls, SD 57117



ACCT #: xxxxxxxxxxxx8829                                                                  DATE INCURRED:   06/25/2008
                                                                                          CONSIDERATION:
Prsm/cbsd                                                                                 Credit Card                                                         $0.00
Po Box 6497                                                                               REMARKS:
                                                                    C
Sioux Falls, SD 57117



ACCT #: xxxxxxxxxxxx9716                                                                  DATE INCURRED:   03/16/2007
                                                                                          CONSIDERATION:
Rbs Citizens Na                                                                           Credit Card                                                         $0.00
1000 Lafayette Blvd                                                                       REMARKS:
                                                                    C
Bridgeport, CT 06604



ACCT #: xxxxxxxxxxxx3124                                                                  DATE INCURRED:   03/2009
                                                                                          CONSIDERATION:
Sears/cbsd                                                                                Credit Card                                                         $0.00
Citicard Credit Srvs/Centralized Bankrup                                                  REMARKS:
                                                                    C
PO Box 20507
Kansas City, MO 64195

Sheet no. __________
              9        of __________
                              11     continuation sheets attached to                                                                 Subtotal >                $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 30 of 57
B6F (Official Form 6F) (12/07) - Cont.
  In re David A. Egeland                                                                                                Case No.
           Sandra D. Egeland                                                                                                       (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxx8957                                                                  DATE INCURRED:   07/27/2002
                                                                                          CONSIDERATION:
Sears/cbsd                                                                                Charge Account                                                      $0.00
Po Box 6189                                                                               REMARKS:
                                                                    C
Sioux Falls, SD 57117



ACCT #: xxxxxxxxxxxx0789                                                                  DATE INCURRED:   12/01/2006
                                                                                          CONSIDERATION:
Tnb-visa                                                                                  Credit Card                                                         $0.00
PO Box 560284                                                                             REMARKS:
                                                                    C
Dallas, TX 75356



ACCT #: xxxxxxxxxxxx0609                                                                  DATE INCURRED:   12/02/2005
                                                                                          CONSIDERATION:
Tnb-visa                                                                                  Credit Card                                                         $0.00
PO Box 560284                                                                             REMARKS:
                                                                    C
Dallas, TX 75356



ACCT #: xxxxx1608                                                                         DATE INCURRED:   03/1999
                                                                                          CONSIDERATION:
Victoria's Secret                                                                         Charge Account                                                      $0.00
PO Box 182124                                                                             REMARKS:
                                                                    C
Columbus, OH 43218



ACCT #: xxxxxxxxxxxx5479                                                                  DATE INCURRED:   05/2007
                                                                                          CONSIDERATION:
Visdsnb                                                                                   Credit Card                                                         $0.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                    C
PO Box 8053
Mason, OH 45040

ACCT #: xxxxxx4480                                                                        DATE INCURRED:   04/1998
                                                                                          CONSIDERATION:
Wells Fargo Hm Mortgag                                                                    Conventional Real Estate Mortgage                                   $0.00
8480 Stagecoach Cir                                                                       REMARKS:
                                                                    C
Frederick, MD 21701



Sheet no. __________
              10       of __________
                              11     continuation sheets attached to                                                                 Subtotal >                $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 31 of 57
B6F (Official Form 6F) (12/07) - Cont.
  In re David A. Egeland                                                                                             Case No.
           Sandra D. Egeland                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxxxxxxxxxx9128                                                                  DATE INCURRED:   04/2008
                                                                                          CONSIDERATION:
Wfnnb/newport News                                                                        Charge Account                                                     $0.00
995 W 122nd Ave                                                                           REMARKS:
                                                                    C
Westminster, CO 80234



ACCT #: xxxxx0661                                                                         DATE INCURRED:   05/2010
                                                                                          CONSIDERATION:
Wfnnb/victorias Secret                                                                    Charge Account                                                     $0.00
                                                                                          REMARKS:
                                                                    C




Sheet no. __________
              11       of __________
                              11     continuation sheets attached to                                                              Subtotal >                  $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                     $141,758.00
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                    Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 32 of 57
B6G (Official Form 6G) (12/07)
   In re David A. Egeland                                                               Case No.
         Sandra D. Egeland                                                                              (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


¨ Check this box if debtor has no executory contracts or unexpired leases.
                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.




   Gary & Sharon Roth                                                    Residential Lease
   P.O. Box 539                                                          Beginning January 2011
   Montgomery, Texas 77356                                               Contract to be ASSUMED




   Jennifer Brown                                                        Residential Lease
   P.O. Box 1067                                                         Lease ends 12/31/2010
   Montgomery, Texas 77356
                                                                         Contract to be REJECTED
                      Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 33 of 57
B6H (Official Form 6H) (12/07)
In re David A. Egeland                                                                             Case No.
      Sandra D. Egeland                                                                                                    (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

þ Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
                      Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 34 of 57
B6I (Official Form 6I) (12/07)
In re David A. Egeland                                                                           Case No.
      Sandra D. Egeland                                                                                              (if known)



                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on
this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
 Debtor's Marital Status:                                             Dependents of Debtor and Spouse
                                 Relationship(s): Daughter        Age(s): 9           Relationship(s):                            Age(s):
           Married
                                                  Daughter                5




 Employment:                      Debtor                                                     Spouse
 Occupation                      Special Agent                                              Substitute Teacher
 Name of Employer                DHS/ICE/Dallas                                             Montgomery ISD
 How Long Employed               22 Years                                                   6 Years
 Address of Employer             HR Service CNTR                                            13159 Walden Road
                                 7701 N. Stemmons Freeway, 6th Floor                        Montgomery, Texas 77356
                                 Dallas, Texas 75247
INCOME: (Estimate of average or projected monthly income at time case filed)                                     DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                                  $11,812.67                   $190.76
2. Estimate monthly overtime                                                                                        $0.00                     $0.00
3. SUBTOTAL                                                                                                    $11,812.67                    $190.76
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                $2,531.47                      $0.00
   b. Social Security Tax                                                                                        $700.64                      $14.31
   c. Medicare                                                                                                   $163.86                       $5.73
   d. Insurance                                                                                                  $511.94                       $0.00
   e. Union dues                                                                                                    $0.00                      $0.00
   f. Retirement                                                                                                 $370.24                       $0.00
   g. Other (Specify) savings                                                                                      $34.67                      $0.00
   h. Other (Specify)                                                                                               $0.00                      $0.00
   i. Other (Specify)                                                                                               $0.00                      $0.00
   j. Other (Specify)                                                                                               $0.00                      $0.00
   k. Other (Specify)                                                                                               $0.00                      $0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                               $4,312.82                     $20.04
6.    TOTAL NET MONTHLY TAKE HOME PAY                                                                           $7,499.85                    $170.72
7.  Regular income from operation of business or profession or farm (Attach detailed stmt)                           $0.00                      $0.00
8.  Income from real property                                                                                        $0.00                      $0.00
9.  Interest and dividends                                                                                           $0.00                      $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or                           $0.00                      $0.00
    that of dependents listed above
11. Social security or government assistance (Specify):
                                                                                                                     $0.00                      $0.00
12. Pension or retirement income                                                                                     $0.00                      $0.00
13. Other monthly income (Specify):
      a.                                                                                                             $0.00                      $0.00
      b.                                                                                                             $0.00                      $0.00
      c.                                                                                                             $0.00                      $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                   $0.00                      $0.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                $7,499.85                    $170.72
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                                $7,670.57
                                                                       (Report also on Summary of Schedules and, if applicable,
                                                                       on Statistical Summary of Certain Liabilities and Related Data)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
None.
                     Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 35 of 57
B6J (Official Form 6J) (12/07)
  IN RE: David A. Egeland                                                                       Case No.
             Sandra D. Egeland                                                                                     (if known)



                    SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
¨
    labeled "Spouse."


 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                       $995.00
    a. Are real estate taxes included?        þ Yes      ¨ No
    b. Is property insurance included?        þ Yes      ¨ No
 2. Utilities: a. Electricity and heating fuel                                                                                               $400.00
               b. Water and sewer                                                                                                            $100.00
               c. Telephone                                                                                                                   $50.00
               d. Other: Cable/Internet                                                                                                       $50.00
 3. Home maintenance (repairs and upkeep)                                                                                                   $300.00
 4. Food                                                                                                                                   $1,000.00
 5. Clothing                                                                                                                                  $50.00
 6. Laundry and dry cleaning                                                                                                                $100.00
 7. Medical and dental expenses                                                                                                               $50.00
 8. Transportation (not including car payments)                                                                                             $400.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                          $50.00
 10. Charitable contributions                                                                                                                 $20.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renter's
           b. Life                                                                                                                           $400.00
           c. Health
           d. Auto                                                                                                                           $120.00
           e. Other:
 12. Taxes (not deducted from wages or included in home mortgage payments)
 Specify:
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
             a. Auto:
             b. Other:
             c. Other:
             d. Other:
 14. Alimony, maintenance, and support paid to others:
 15. Payments for support of add'l dependents not living at your home:
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
 17.a. Other: See attached personal expenses                                                                                               $1,560.00
 17.b. Other:
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
                                                                                                                                          $5,645.00
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
 document: None.


 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                                                     $7,670.57
 b. Average monthly expenses from Line 18 above                                                                                           $5,645.00
 c. Monthly net income (a. minus b.)                                                                                                      $2,025.57
                 Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 36 of 57
                                  UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION
IN RE:   David A. Egeland                                     CASE NO
         Sandra D. Egeland
                                                              CHAPTER   13

                                      EXHIBIT TO SCHEDULE J




                                      Itemized Personal Expenses

Expense                                                                             Amount

Professional Fees                                                                     $100.00
Personal Grooming & Haircuts                                                           $80.00
Auto Repairs/Maintenance                                                               $80.00
Tuition, Books, School Supplies                                                        $75.00
Child Care                                                                            $400.00
Pet Expenses                                                                          $250.00
Storage Unit                                                                          $300.00
Cell Phone                                                                            $200.00
Time Share Dues                                                                        $75.00

                                                                         Total >    $1,560.00
                     Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 37 of 57
B6 Summary (Official Form 6 - Summary) (12/07)
                                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
   In re David A. Egeland                                                            Case No.
         Sandra D. Egeland
                                                                                     Chapter      13



                                                       SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                               Yes      1                  $38,500.00


 B - Personal Property                           Yes      5                 $442,170.47

 C - Property Claimed                            Yes      3
     as Exempt
 D - Creditors Holding                           Yes      1                                            $26,654.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                             Yes      2                                             $2,485.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                 Yes      12                                        $141,758.00
     Nonpriority Claims
 G - Executory Contracts and                     Yes      1
    Unexpired Leases

 H - Codebtors                                   Yes      1


 I - Current Income of                           Yes      1                                                                  $7,670.57
     Individual Debtor(s)
 J - Current Expenditures of                     Yes      2                                                                  $5,645.00
    Individual Debtor(s)

                                             TOTAL        29                $480,670.47             $170,897.00
                     Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 38 of 57
Form 6 - Statistical Summary (12/07)
                                            UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
    In re David A. Egeland                                                            Case No.
          Sandra D. Egeland
                                                                                      Chapter       13



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.


¨    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
     information here.
This information is for statistical purposes only under 28 U.S.C. § 159.
Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                          $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                              $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar                       $0.00
 Obligations (from Schedule F)

                                                            TOTAL                  $0.00

State the following:

 Average Income (from Schedule I, Line 16)                                     $7,670.57

 Average Expenses (from Schedule J, Line 18)                                   $5,645.00

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                              $11,976.18

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                                  $0.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                       $2,485.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                          $141,758.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $141,758.00
                   Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 39 of 57
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re David A. Egeland                                                                 Case No.
      Sandra D. Egeland                                                                                      (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 31
sheets, and that they are true and correct to the best of my knowledge, information, and belief.



Date 12/21/2010                                              Signature    /s/ David A. Egeland
                                                                         David A. Egeland

Date 12/21/2010                                              Signature     /s/ Sandra D. Egeland
                                                                          Sandra D. Egeland
                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
                      Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 40 of 57
B7 (Official Form 7) (04/10)                    UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
   In re:   David A. Egeland                                                                         Case No.
            Sandra D. Egeland                                                                                                (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
 ¨     including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $108,940.80                 Employment 2010
        $149,048.00                 Employment 2009 - combined income
        $166,709.00                 Employment 2008 - combined income
                                    Debtor

        $ 2,370.84                  Employment 2010
        $149,048.00                 Employment 2009
        $166,709.00                 Employment 2008
                                    Spouse

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
 þ     two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
 ¨     debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DATES OF
        NAME AND ADDRESS OF CREDITOR                                     PAYMENTS                AMOUNT PAID             AMOUNT STILL OWING
        Chase Manhattan                                                  Monthly                 $648.00                 $23,952.00
        Attn: Bankruptcy Research Dept
        3415 Vision Dr
        Columbus, OH 43219

None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
 þ     preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                      Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 41 of 57
B7 (Official Form 7) (04/10) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF TEXAS
                                                        HOUSTON DIVISION
   In re:   David A. Egeland                                                                       Case No.
            Sandra D. Egeland                                                                                             (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1


None
       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
 þ     who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
 ¨     bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        CAPTION OF SUIT AND                                                            COURT OR AGENCY                 STATUS OR
        CASE NUMBER                                   NATURE OF PROCEEDING             AND LOCATION                    DISPOSITION
        Sandra Egeland v. Janey                       Vehicle Accident                 In the 9th Judicial             Settlement in the
        Catherine Hunt                                                                 District Court of               amount $3,300
                                                                                       Montgomery County,
        Case No. 09-04-03421-CV                                                        Texas

None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
 þ     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
 ¨     to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

                                                                        DATE OF REPOSSESSION,
                                                                        FORECLOSURE SALE,                DESCRIPTION AND VALUE
        NAME AND ADDRESS OF CREDITOR OR SELLER                          TRANSFER OR RETURN               OF PROPERTY
        Citimortgage Inc                                                11/17/2010                       Deed in Lieu of Foreclosure - back to
        Po Box 9438                                                                                      mortgage co
        Gaithersburg, MD 20898

       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
 þ     (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
 ¨     gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS OF PERSON                                    RELATIONSHIP TO                               DESCRIPTION AND
        OR ORGANIZATION                                               DEBTOR, IF ANY  DATE OF GIFT                  VALUE OF GIFT
        St. Marys                                                     Church                 Monthly                $20
                      Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 42 of 57
B7 (Official Form 7) (04/10) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF TEXAS
                                                        HOUSTON DIVISION
   In re:   David A. Egeland                                                                       Case No.
            Sandra D. Egeland                                                                                              (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
 ¨     consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Law Office of Nicholas R. Westbrook                           11/23/2010                       $600.00
        3730 Kirby Drive, Suite 1200
        Houston, Texas 77098

        InCharge Education Foundation, Inc.                           11/8/2010                        $30

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
 þ     either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.
 þ
       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
 þ     transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
 þ     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
 þ     case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)
                      Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 43 of 57
B7 (Official Form 7) (04/10) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
   In re:   David A. Egeland                                                                        Case No.
            Sandra D. Egeland                                                                                              (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
 þ
       15. Prior address of debtor
None
       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied
 ¨     during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.

        ADDRESS                                                        NAME USED                                         DATES OF OCCUPANCY
        123 Waterford Way                                                                                                2004 - 2010
        Montgomery, Texas

       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
 þ     Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
 þ     potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
 þ     Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
 þ     or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.
                      Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 44 of 57
B7 (Official Form 7) (04/10) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
   In re:   David A. Egeland                                                                          Case No.
            Sandra D. Egeland                                                                                                 (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 4



       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
 ¨     dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years
       immediately preceding the commencement of this case.

        NAME, ADDRESS, AND LAST FOUR DIGITS OF
        SOCIAL-SECURITY OR OTHER INDIVIDUAL                                                                           BEGINNING AND ENDING
        TAXPAYER-I.D. NO. (ITIN) / COMPLETE EIN                       NATURE OF BUSINESS                              DATES

        Sandra Egeland                                                Dog Breeder                                     8/1/2009 - Present
        123 Waterford Way
        Montgomery, Texas 77356

        Tax ID: 3-20205-6834-4

None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
 þ

       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
       more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or
       self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the
 þ     keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account
 þ     and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
 þ     debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
 þ     the debtor within two years immediately preceding the commencement of this case.
                      Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 45 of 57
B7 (Official Form 7) (04/10) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION
   In re:   David A. Egeland                                                                          Case No.
            Sandra D. Egeland                                                                                                  (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 5



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
 þ     dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
 þ

       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
 þ

None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
 þ     holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
 þ     of this case.


None
       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
 þ     preceding the commencement of this case.



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
 þ     bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
       case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
 þ     purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
 þ     has been responsible for contributing at any time within six years immediately preceding the commencement of the case.
                      Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 46 of 57
B7 (Official Form 7) (04/10) - Cont.      UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF TEXAS
                                                   HOUSTON DIVISION
   In re:   David A. Egeland                                                             Case No.
            Sandra D. Egeland                                                                                 (if known)



                                           STATEMENT OF FINANCIAL AFFAIRS
                                                            Continuation Sheet No. 6



[If completed by an individual or individual and spouse]
I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 12/21/2010                                                Signature        /s/ David A. Egeland
                                                               of Debtor        David A. Egeland

Date 12/21/2010                                                Signature       /s/ Sandra D. Egeland
                                                               of Joint Debtor Sandra D. Egeland
                                                               (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
                Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 47 of 57
B 201B (Form 201B) (12/09)              UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF TEXAS
                                                HOUSTON DIVISION
In re David A. Egeland                                                                    Case No.
      Sandra D. Egeland
                                                                                          Chapter            13



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                  Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

David A. Egeland                                                    X /s/ David A. Egeland                                 12/21/2010
Sandra D. Egeland                                                    Signature of Debtor                                   Date
Printed Name(s) of Debtor(s)
                                                                    X /s/ Sandra D. Egeland                                12/21/2010
Case No. (if known)                                                  Signature of Joint Debtor (if any)                    Date

                         Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,            Nicholas R. Westbrook                 , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ Nicholas R. Westbrook
Nicholas R. Westbrook, Attorney for Debtor(s)
Bar No.: 24042141
Law Office of Nicholas R. Westbrook
3730 Kirby Drive, Suite 1200
Houston, Texas 77098
Phone: (713) 893-6204
Fax: (713) 869-3017




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) ONLY if the certification has NOT
been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition
preparers on page 3 of Form B1 also include this certification.
                 Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 48 of 57
B 201A (Form 201A) (12/09)

WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under
Bankruptcy Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2.


                                          UNITED STATES BANKRUPTCY COURT

                             NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                      OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that you
receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a JOINT CASE (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of
each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.


1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on
or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator.
The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each
debtor in a joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should
be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.
                 Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 49 of 57
Form B 201A, Notice to Consumer Debtor(s)                                                                                             Page 2

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $39 administrative fee: Total fee $274)
Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over a
period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your
future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $39 administrative fee: Total fee $239)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.


Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.
                   Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 50 of 57
                                           UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF TEXAS
                                                   HOUSTON DIVISION
IN RE:     David A. Egeland                                                               CASE NO
           Sandra D. Egeland
                                                                                         CHAPTER      13

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                               Fixed Fee:          $3,085.00
     Prior to the filing of this statement I have received:                                          $600.00
     Balance Due:                                                                                   $2,485.00

2. The source of the compensation paid to me was:
             þ    Debtor                  ¨    Other (specify)

3. The source of compensation to be paid to me is:
             þ    Debtor                  ¨    Other (specify)

4.   þ   I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

     ¨   I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                      12/21/2010                              /s/ Nicholas R. Westbrook
                         Date                                 Nicholas R. Westbrook                      Bar No. 24042141
                                                              Law Office of Nicholas R. Westbrook
                                                              3730 Kirby Drive, Suite 1200
                                                              Houston, Texas 77098
                                                              Phone: (713) 893-6204 / Fax: (713) 869-3017




      /s/ David A. Egeland                                                 /s/ Sandra D. Egeland
     David A. Egeland                                                     Sandra D. Egeland
                  Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 51 of 57
                                      UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION
  IN RE:   David A. Egeland                                                         CASE NO
           Sandra D. Egeland
                                                                                   CHAPTER    13

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 12/21/2010                                          Signature    /s/ David A. Egeland
                                                                     David A. Egeland



Date 12/21/2010                                          Signature    /s/ Sandra D. Egeland
                                                                     Sandra D. Egeland
Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 52 of 57



                 Amegy Bank Of Texas
                 1801 Main
                 Houston, TX 77002



                 American Express
                 c/o Becket and Lee LLP
                 PO Box 3001
                 Malvern, PA 19355


                 Amex
                 c/o Beckett & Lee
                 PO Box 3001
                 Malvern, PA 19355


                 Bac Home Loans Servici
                 450 American St
                 Simi Valley, CA 93065



                 Bac/fleet-bkcard
                 200 Tournament Dr
                 Horsham, PA 19044



                 Bank Of America
                 Po Box 17054
                 Wilmington, DE 19850



                 Bank Of America
                 Attn: Bankruptcy NC4-105-03-14
                 PO Box 26012
                 Greensboro, NC 27410


                 Bank of America
                 Attn: Bankruptcy Dept NC4-105-03-72
                 PO Box 22002
                 Greensboro, NC 27420


                 Capital One, N.a.
                 Bankruptcy Dept
                 PO Box 5155
                 Norcross, GA 30091
Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 53 of 57



                 Chase
                 Po Box 15298
                 Wilmington, DE 19850



                 Chase
                 Attn: Bankruptcy Dept
                 PO Box 15145
                 Wilmington, DE 19850


                 Chase Manhattan
                 Attn: Bankruptcy Research Dept
                 3415 Vision Dr
                 Columbus, OH 43219


                 Chase Mht Bk
                 Attn: Bankruptcy
                 PO Box 15145
                 Wilmington, DE 19850


                 Citi
                 P.o. Box 6500
                 Siou Falls, SD 57117



                 Citi Auto
                 4000 Regent Blvd
                 Irving, TX 75063



                 Citibank
                 Attn: Centralized Bankruptcy
                 PO Box 20507
                 Kansas City, MO 64195


                 Citibank Na
                 Attn.:   Centralized Bankruptcy
                 PO Box 20507
                 Kansas City, MO 64195


                 Citibank Sd, Na
                 Attn: Centralized Bankruptcy
                 PO Box 20507
                 Kansas City, MO 64195
Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 54 of 57



                 Citibank Usa
                 Citicard Credit Srvs/Centralized Bankrup
                 PO Box 20507
                 Kansas City, MO 64195


                 Citimortgage Inc
                 Po Box 9438
                 Gaithersburg, MD 20898



                 Discover Fin
                 PO Box 6103
                 Carol Stream, IL 60197



                 Discover Fin Svcs Llc
                 Po Box 15316
                 Wilmington, DE 19850



                 First Com Bk
                 1150 West Main Street
                 Tomball, TX 77375



                 Flagstar Bank
                 Attn: Bankruptcy Dept MS-S144-3
                 5151 Corporate Dr
                 Troy, MI 48098


                 Gary & Sharon Roth
                 P.O. Box 539
                 Montgomery, Texas 77356



                 GEMB / HH Gregg
                 Attention: Bankruptcy
                 PO Box 103106
                 Roswell, GA 30076


                 Gemb/care Credit
                 Attn: Bankruptcy
                 PO Box 103106
                 Roswell, GA 30076
Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 55 of 57



                 Gemb/jcp
                 Attention: Bankruptcy
                 PO Box 103104
                 Roswell, GA 30076


                 Gemb/walmart
                 Attn: Bankruptcy
                 PO Box 103104
                 Roswell, GA 30076


                 Gemb/walmart
                 Po Box 981400
                 El Paso, TX 79998



                 Gembppbycr
                 Attention: GEMB
                 PO Box 103104
                 Roswell, GA 30076


                 Gtwy/cbusa
                 Attn: Centralized Bankruptcy
                 PO Box 20507
                 Kansas City, MO 64195


                 Home Comings Financial
                 Attention: Bankruptcy Dept
                 1100 Virginia Drive
                 Fort Washington, PA 19034


                 HSBC
                 ATTN: BANKRUPTCY
                 PO BOX 5213
                 Carol Stream, IL 60197


                 Hsbc Best Buy
                 Attn: Bankruptcy
                 PO Box 5263
                 Carol Stream, IL 60197


                 Hsbc/rs
                 90 Christiana Rd
                 New Castle, DE 19720
Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 56 of 57



                 Jennifer Brown
                 P.O. Box 1067
                 Montgomery, Texas 77356



                 Kohls
                 Attn: Recovery Dept
                 PO Box 3120
                 Milwaukee, WI 53201


                 Land Rover
                 25 Braintree Hill Park S
                 Braintree, MA 02184



                 Law Office of Nicholas R. Westbrook
                 3730 Kirby Drive, Suite 1200
                 Houston, Texas 77098



                 Macys/fdsb
                 Attn: Bankruptcy
                 PO Box 8053
                 Mason, OH 45040


                 Merchants Mortgage
                 7400 E Crestline Cir Ste
                 Greenwood Village, CO 80111



                 Orange Lake Country Cl
                 8505 W Irlo Bronson Hwy
                 Kissimmee, FL 34747



                 Prsm/cbsd
                 Po Box 6497
                 Sioux Falls, SD 57117



                 Rbs Citizens Na
                 1000 Lafayette Blvd
                 Bridgeport, CT 06604
Case 10-41536 Document 1 Filed in TXSB on 12/21/10 Page 57 of 57



                 Sears/cbsd
                 Citicard Credit Srvs/Centralized Bankrup
                 PO Box 20507
                 Kansas City, MO 64195


                 Sears/cbsd
                 Po Box 6189
                 Sioux Falls, SD 57117



                 Tnb-visa
                 PO Box 560284
                 Dallas, TX 75356



                 Victoria's Secret
                 PO Box 182124
                 Columbus, OH 43218



                 Visdsnb
                 Attn: Bankruptcy
                 PO Box 8053
                 Mason, OH 45040


                 Wells Fargo Hm Mortgag
                 8480 Stagecoach Cir
                 Frederick, MD 21701



                 Wfnnb/newport News
                 995 W 122nd Ave
                 Westminster, CO 80234



                 Wfnnb/victorias Secret
